                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 1 of 11




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    UNITED STATES OF AMERICA,                         Case No. 15-cr-00372-JD-1
                                                       Plaintiff,
                                   8
                                                                                          ORDER RE MOTION TO DISMISS
                                                v.
                                   9
                                                                                          Re: Dkt. No. 12
                                  10    ALEJANDRO JIMENEZ,
                                                       Defendant.
                                  11

                                  12          A grand jury indicted defendant Alejandro Jimenez on two counts: (1) possession of “a
Northern District of California
 United States District Court




                                  13   machinegun, specifically, an AR-15-style machinegun lower receiver, with no serial number,” in
                                  14   violation of 18 U.S.C. § 922(o); and (2) receiving and possessing “a firearm, specifically, an AR-
                                  15   15-style machinegun lower receiver, with no serial number, not registered to him in the National
                                  16   Firearms Registration and Transfer Record,” in violation of 26 U.S.C. § 5861(d). Dkt. No. 6. He
                                  17   moves to dismiss both counts under Rule 12 of the Federal Rules of Criminal Procedure on the
                                  18   ground that these laws are unconstitutionally vague as applied to him. Dkt. No. 12. The Court
                                  19   grants the motion in part and denies it in part.
                                  20                                             BACKGROUND
                                  21          The charges arise out of a single event in July 2015 and the facts are uncontroverted.
                                  22   Jimenez is a convicted felon who cannot legally purchase a firearm. He met an undercover agent
                                  23   from the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) at a shopping mall in
                                  24   Concord, California, to buy the lower receiver of an AR-15 rifle. He was arrested immediately
                                  25   after paying the agent and taking possession of the lower receiver. The receiver had been milled
                                  26   to accommodate an “auto sear” part for automatic firing but did not come with the part. See
                                  27   generally Dkt. No. 13 at 1-4 & Dkt. No. 12 at 11-12.
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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 2 of 11




                                   1          As the indictment shows, the key physical element of the case against Jimenez is the lower

                                   2   receiver. A receiver is the portion of a gun that houses the operative parts of the firing mechanism

                                   3   -- the “parts that make a gun fire.” United States v. 1,100 Machine Gun Receivers, 73 F. Supp. 2d

                                   4   1289, 1291 (D. Utah 1999). Many guns have a single receiver. The AR-15, however, has a split

                                   5   receiver that consists of an upper portion and a lower portion. The parties agree that the AR-15

                                   6   lower receiver houses the hammer and firing mechanism, and the upper receiver houses the bolt or

                                   7   breechblock and is threaded at its forward position to attach to the barrel. Dkt. No. 12 at 8; Dkt.

                                   8   No. 13 at 13.

                                   9                                              DISCUSSION

                                  10      I. LEGAL STANDARD
                                  11          Jimenez brings an as-applied challenge of vagueness against the statutes in the indictment.

                                  12   Federal Rule of Criminal Procedure Rule 12(b)(1) provides that “[a] party may raise by pretrial
Northern District of California
 United States District Court




                                  13   motion any defense, objection, or request that the court can determine without a trial on the

                                  14   merits.” At this stage of the case, the Court accepts as true the allegations of the indictment.

                                  15   United States v. Blinder, 10 F.3d 1468, 1471 (9th Cir. 1993).

                                  16          A pretrial motion to dismiss a criminal case is appropriate “if it involves questions of law

                                  17   rather than fact.” United States v. Shortt Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986)

                                  18   (citations omitted). A district court “may make preliminary findings of fact necessary to decide

                                  19   the questions of law presented by pretrial motions so long as the court’s findings on the motion do

                                  20   not invade the province of the ultimate finder of fact.” Id. (internal quotations and citations

                                  21   omitted). Jimenez and the Government have submitted declarations and exhibits in support of

                                  22   their arguments. Neither side has requested an evidentiary hearing.

                                  23      II. REGULATORY CONTEXT
                                  24          The statutes at issue are not particularly complicated but do require some mapping to

                                  25   understand. The first count of the indictment charges Jimenez under 18 U.S.C. § 922(o) for

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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 3 of 11




                                   1   unlawful possession of a machinegun. 1 For purposes of Section 922(o), “machinegun” has the

                                   2   same meaning given in Section 5845(b) of the National Firearms Act (“NFA”). 18 U.S.C.

                                   3   § 921(a)(23). The NFA states:

                                   4                  The term “machinegun” means any weapon which shoots, is
                                                      designed to shoot, or can be readily restored to shoot, automatically
                                   5                  more than one shot, without manual reloading, by a single function
                                                      of the trigger. The term shall also include the frame or receiver of
                                   6                  any such weapon, any part designed and intended solely and
                                                      exclusively, or combination of parts designed and intended, for use
                                   7                  in converting a weapon into a machinegun, and any combination of
                                                      parts from which a machinegun can be assembled if such parts are in
                                   8                  the possession or under the control of a person.

                                   9   26 U.S.C. § 5845(b) (emphasis added).

                                  10          The second count charges Jimenez under Section 5861(d) of the NFA for possessing a

                                  11   firearm not registered to him in the National Firearms Registration and Transfer Record. Section

                                  12   5845(a) of the NFA defines a “firearm” to include a machinegun and uses the same description in
Northern District of California
 United States District Court




                                  13   Section 5845(b). 26 U.S.C. § 5845(a).

                                  14          Consequently, Section 922(o) and Section 5861(d) criminalize the possession of a

                                  15   machinegun receiver, but neither statute says what a receiver is. As the Government and Jimenez

                                  16   agree, the definition of receiver for purposes of both statutes is stated in the Code of Federal

                                  17   Regulations (“CFR”). The “receiver” is that “part of a firearm which provides housing for the

                                  18   hammer, bolt or breechblock and firing mechanism, and which is usually threaded at its forward

                                  19   portion to receive the barrel.” 27 C.F.R. § 479.11.

                                  20       III. VAGUENESS CHALLENGE: “RECEIVER”
                                  21          The parties’ motion to dismiss briefing focused primarily on the issue of whether the

                                  22   meaning of “receiver” was unconstitutionally vague as applied to Jimenez. Defendant contends

                                  23   that nothing in the statutes or CFR gave him fair notice that possessing the lower receiver of an

                                  24   AR-15 rifle would count as the criminal possession of “the receiver.” As a corollary, he argues

                                  25   that the lack of clear standards allows the ATF to engage in arbitrary enforcement practices.

                                  26

                                  27   1
                                         As the Sixth Circuit has noted, the United States Code uses the atypical spelling of
                                  28   “machinegun” rather than the standard “machine gun.” United States v. Carter, 465 F.3d 658, 661
                                       (6th Cir. 2006). For the sake of consistency, the Court follows the Code’s practice.
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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 4 of 11




                                   1          The Ninth Circuit has set out a specific framework for evaluating whether a criminal law is

                                   2   void for vagueness. The “test is whether the text of the statute and its implementing regulations,

                                   3   read together, give ordinary citizens fair notice with respect to what the statute and regulations

                                   4   forbid, and whether the statute and regulations read together adequately provide for principled

                                   5   enforcement by making clear what conduct of the defendant violates the statutory scheme.”

                                   6   United States v. Zhi Yong Guo, 634 F.3d 1119, 1122-23 (9th Cir. 2011). When, as here, the

                                   7   challenged laws do not involve First Amendment rights, vagueness is evaluated on an as-applied

                                   8   basis and “must be examined in the light of the facts of the case at hand.” United States v. Harris,

                                   9   705 F.3d 929, 932 (9th Cir. 2013). The inquiry is specific to the individual defendant and “turns

                                  10   on whether the statute provided adequate notice to him that his particular conduct was

                                  11   proscribed.” Id. (emphasis added). “For statutes involving criminal sanctions the requirement for

                                  12   clarity is enhanced.” Id. (internal quotation marks and citations omitted).
Northern District of California
 United States District Court




                                  13          The gist of Jimenez’s challenge is that the AR-15 lower receiver does not fit the CFR

                                  14   definition of a “receiver” that is illegal under the gun laws. Significantly, the parties agree on all

                                  15   the factors material to this challenge. They agree that Section 479.11 of the CFR defines a

                                  16   receiver as the “part of a firearm which provides housing for the hammer, bolt or breechblock and

                                  17   firing mechanism, and which is usually threaded at its forward portion to receive the barrel.” This

                                  18   means a receiver must have the housing for three elements: hammer, bolt or breechblock, and

                                  19   firing mechanism. As the plain language of Section 479.11 shows, barrel threading is not a

                                  20   mandatory element. See also 1,100 Machine Gun Receivers, 73 F. Supp. 2d at 1292 (same). They

                                  21   also agree that the lower receiver for which Jimenez was arrested and indicted houses only two of

                                  22   the required features -- the hammer and the firing mechanism. Dkt. No. 12 at 8; Dkt. No. 13 at 13.

                                  23   The Government forthrightly concedes that this format “does not perfectly fit the CFR section

                                  24   definition.” Dkt. No. 13 at 13.

                                  25          In light of this record, the Government’s task is to show that Jimenez had fair notice that

                                  26   his particular conduct was proscribed and that ATF’s action against him was not arbitrary. Harris,

                                  27   705 F.3d at 932. It has not succeeded. Tellingly, the Government makes no effort to parse the

                                  28   statutes or the CFR for proof of notice or clear standards. In effect, it concedes that the plain
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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 5 of 11




                                   1   language of the law does not answer the vagueness challenge. This is tantamount to

                                   2   acknowledging that even if Jimenez had read the rules and regulations, he could not have known

                                   3   that the lower receiver of the AR-15 would be covered by them. That alone is a strong blow

                                   4   against the Government’s position.

                                   5             The Government’s effort to find clear notice and standards outside the statutes and CFR is

                                   6   unpersuasive. It insists that the “‘receiver’ of an AR-15/M-16-style firearm is and always has

                                   7   been the lower portion” like the one Jimenez acquired. Dkt. No. 13 at 1; see also id. at 11 (“Since

                                   8   the passage of the [Gun Control Act] of 1968, federal law has regulated the lower portion of the

                                   9   AR-15/M-16 as the ‘receiver’ of the firearm.”). That might be the case, but the salient question is

                                  10   how a person -- and specifically Jimenez -- contemplating the purchase of an AR-15 lower

                                  11   receiver would have known about this interpretation or that ATF would treat buying one as a

                                  12   crime. The Government has little to offer in answer.
Northern District of California
 United States District Court




                                  13             For the purported notice, the Government relies on two obscure bureaucratic

                                  14   communications from the early 1970s. One is a memorandum on Internal Revenue Service

                                  15   letterhead dated March 2, 1971, from “J. R. Wachter” to “J. F. McCarren.” Dkt. No. 13 at Ex. 4.

                                  16   This one-page document appears to be an inter-agency discussion of how the split receiver of the

                                  17   M-16, the military version of the AR-15, should be taxed. The document is striking for several

                                  18   reasons, all of which run counter to the Government’s argument. It addresses a federal tax issue

                                  19   and not a federal criminal gun law. It gives lukewarm endorsement at best to treating a lower

                                  20   receiver as the operative portion. The letter says the M-16 receiver “apparently” has two portions

                                  21   and that the lower portion “comes closest to meeting the definition of frame or receiver” in the

                                  22   CFR but the author could “see some difficulty in trying to make cases against persons possessing

                                  23   only the lower part of a receiver.” Id. And the Government provides no facts showing that the

                                  24   memo ever saw the light of day outside a tiny circle of government employees. How this

                                  25   document could have provided fair and adequate notice to anyone, let alone Jimenez, is left

                                  26   unsaid.

                                  27             The Government’s other document is even less impressive. This one is a January 19, 1972

                                  28   letter from an ATF director to a gun seller in California. Dkt. No 13 at Ex. 4. This very short
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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 6 of 11




                                   1   two-paragraph letter says “in reply to your letter” that ATF “has determined for the purposes of

                                   2   marking and control, the lower receiver . . . is the receiver” for the AR-15. No citation to the

                                   3   United States Code, the CFR or any other publicly available document is provided. And once

                                   4   again, nothing indicates that anyone other than the author and recipient ever saw or knew about

                                   5   this letter or the ATF’s purported enforcement determination. There is certainly no indication that

                                   6   Jimenez or anyone in his circumstances would ever have known about this document.

                                   7           The Government also points to a 1977 letter about a different rifle, the FN/FAL. Dkt. No.

                                   8   13 at Ex. 4. Like the AR-15, the FN/FAL has a split receiver, and the ATF’s Central Region had

                                   9   decided that the lower portion should be treated as the receiver. In the letter, ATF’s in-house

                                  10   counsel advises the acting assistant director to reject that decision and treat the FN/FAL’s upper

                                  11   portion as the receiver. Counsel states that it is “totally incorrect” to treat all split receivers in the

                                  12   same way and that each “split receiver weapon should be examined” individually to determine “if
Northern District of California
 United States District Court




                                  13   the upper or lower half of the receiver more nearly fits the legal definition of ‘receiver.’” Id. The

                                  14   letter ends by recommending that ATF advise the Department of Justice that the upper portion was

                                  15   the operative part for the FN/FAL because a defendant had pled guilty -- the implication is

                                  16   erroneously -- to machinegun possession based on the lower part.

                                  17           The Government’s reliance on this letter is particularly puzzling because it affirmatively

                                  18   undercuts the claim of fair notice. It voices disagreement and even a degree of confusion within

                                  19   ATF about how to handle split receivers under the law. It even recognizes, in the circumspect

                                  20   language of counsel, that some criminal convictions might be in doubt from the lack of

                                  21   enforcement clarity for split receivers. And like the other two documents the Government

                                  22   proffers, it has all the hallmarks of a purely internal communication that never reached the public

                                  23   at large or Jimenez specifically. 2

                                  24           Overall, the Government’s position is striking for the utter lack of evidence showing that

                                  25   the public had fair notice of potential criminal liability for possessing only an AR-15 lower

                                  26

                                  27   2
                                          For completeness, the Court notes that the Government also provides a one-page letter that
                                  28   appears to be dated February 23, 1971. It is almost unreadable and in any event is substantively
                                       irrelevant.
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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 7 of 11




                                   1   receiver. This absence of adequate notice sharply distinguishes this case from those that denied a

                                   2   vagueness challenge to other criminal laws. In United States v. Harris, for example, the Ninth

                                   3   Circuit declined to set aside a conviction for conspiracy under a statute that prohibited carrying a

                                   4   “concealed dangerous weapon” on aircraft. The defendant was an airport employee who snuck a

                                   5   passenger’s “pocketknife with a blade that is almost two-and-a-half inches long past a security

                                   6   checkpoint” and then gave it back to the passenger who then boarded an airplane. Harris, 705

                                   7   F.3d at 930. A Transportation Security Administration agent had previously prevented the

                                   8   passenger from passing through a security checkpoint with the knife. The defendant appealed his

                                   9   conditional guilty plea on the ground that “dangerous weapon” was too vague a formulation to

                                  10   provide adequate notice to him that his conduct was proscribed. Id. at 932. The Circuit turned

                                  11   that argument away in short order by finding that the defendant had ample notice that his conduct

                                  12   was illegal. The defendant worked at the airport and knew the TSA had already blocked passage
Northern District of California
 United States District Court




                                  13   of the knife, and signs throughout the airport expressly prohibited all knives. Id. On that record,

                                  14   the Circuit had no trouble finding that it “should have been clear to him that § 46505’s prohibition

                                  15   of ‘dangerous weapon[s]’ includes a pocketknife with a blade almost two-and-a-half inches long”

                                  16   and that the defendant had “adequate notice that his conduct was prohibited.” Id. See also Zhi

                                  17   Yong Guo, 634 F.3d. at 1122-23 (rejecting vagueness challenge to export violation because export

                                  18   laws, although complex, could be pieced together to determine whether a particular item was

                                  19   regulated).

                                  20          No evidence of that type was presented here. Unlike the defendant in Harris, Jimenez did

                                  21   not have any notice that buying the lower receiver of an AR-15 would subject him to criminal

                                  22   penalties under federal law on the basis that the lower receiver would be treated as “the receiver”

                                  23   under the statutory definition of “machinegun.” Unlike the defendant in Zhi Yong Guo, he could

                                  24   not turn to any statute or regulations, however complicated, to determine that acquiring the lower

                                  25   receiver alone would legally be treated as the criminal act of acquiring a “receiver.” Nothing

                                  26   available to Jimenez put him on adequate notice that his conduct was prohibited under the

                                  27   machinegun laws. Harris, 705 F.3d at 932.

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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 8 of 11




                                   1          As a last gambit, the Government says that Jimenez simply must have known what he was

                                   2   doing was illegal based on a conversation he had with one of the undercover agents. But that is

                                   3   pure ipse dixit, as the cited transcript shows:

                                   4                  Defendant:      It’s legal right now?
                                                      UC:             What do you mean ‘it’s legal right now’?
                                   5                  Defendant:      Yeah, like I could do it. Like I could take it to the
                                                                      range right now and test it out.
                                   6                  UC:             That right there’s a fucking machinegun. You take
                                                                      that to the range you’re gonna draw all kinds of
                                   7                                  attention.

                                   8   Dkt. No. 13 at 3. Nothing here shows that Jimenez knew the lower receiver would be deemed

                                   9   illegal; to the contrary, he appears to think he was buying a legal item, and the undercover agent

                                  10   certainly did not clearly apprise him otherwise.

                                  11          The Government’s notice theory is further weakened by an element of randomness in the

                                  12   ATF’s enforcement practices. For some split receiver rifles like the FN/FAL, the upper receiver is
Northern District of California
 United States District Court




                                  13   classified as a weapon but the lower receiver is legal to acquire. Dkt. No. 13 at 12-13. The

                                  14   opposite is true for the AR-15. The Government agrees that it is perfectly legal to possess an AR-

                                  15   15 upper receiver but the lower receiver is “the receiver” for statutory and regulatory purposes.

                                  16   Dkt. No. 13 at 5. How would any citizen, and specifically Jimenez, be on fair notice of these

                                  17   nuances? Where are these enforcement interpretations spelled out in plain language for all to see?

                                  18   The Government does not say. Certainly nothing in CFR Section 479.11 would have given

                                  19   Jimenez fair warning before making his purchase and neither the ATF nor any other resource

                                  20   provided any independent notice. If the enforcement agencies had treated all receivers, including

                                  21   portions of split receivers, as illegal, it is possible Jimenez’s vagueness argument would result in a

                                  22   different outcome. But they didn’t, and the patchwork of enforcement practices is another strike

                                  23   against the Government’s position. See United States v. Ocegueda, 564 F.2d 1363, 1365-66 (9th

                                  24   Cir. 1977) (rejecting vagueness challenge to “unlawful user” of narcotics in a statute because “use

                                  25   of heroin by laymen is not permissible in any circumstance” but noting that if the defendant had

                                  26   “used a drug that may be used legally by laymen in some circumstances . . . we would be faced

                                  27   with an entirely different vagueness challenge to the term ‘unlawful user’ in s 922(h)(3)”).

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                                           Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 9 of 11




                                   1          The notice theory was the Government’s main opposition to Jimenez’s motion, and its

                                   2   ancillary arguments fare no better. It suggests that two circuit courts outside the Ninth Circuit

                                   3   have rejected vagueness challenges like Jimenez’s. See Dkt. No. 13 at 7-8 (citing United States v.

                                   4   Carter, 465 F.3d 658 (6th Cir. 2006) and United States v. Williams, 364 F.3d 556 (4th Cir. 2004)).

                                   5   Not true. Neither decision involved an AR-15 rifle, split receivers or other facts similar to the

                                   6   ones here and neither provides any useful guidance on whether a defendant in Jimenez’s position

                                   7   should have known that an AR-15 lower receiver in the configuration he possessed would be

                                   8   illegal under the “receiver” portion of the machinegun definition.

                                   9          The Government also contends that sustaining defendant’s position on the receiver issue

                                  10   would permit “felons, addicts, and other prohibited persons . . . [to] possess with impunity” the

                                  11   receivers of a semi-automatic or fully automatic AR-15/M-16. Dkt. No. 13 at 15. That goes too

                                  12   far. The only issue here is whether this defendant had notice that his conduct was criminal under
Northern District of California
 United States District Court




                                  13   the specific circumstances of this case. Other cases might involve facts that show adequate notice

                                  14   to the defendant or vitiate a vagueness challenge on other grounds.

                                  15          In addition, however grave and legitimate the Government’s concerns may be, they do not

                                  16   compel a different result in this case. As the Supreme Court has held:

                                  17                  Appellants stress the need for strengthened law enforcement tools
                                                      to combat the epidemic of crime that plagues our Nation. The
                                  18                  concern of our citizens with curbing criminal activity is certainly a
                                                      matter requiring the attention of all branches of government. As
                                  19                  weighty as this concern is, however, it cannot justify legislation
                                                      that would otherwise fail to meet constitutional standards for
                                  20                  definiteness and clarity. See Lanzetta v. New Jersey, 306 U.S. 451
                                                      (1939). . . . Although due process does not require “impossible
                                  21                  standards” of clarity, see United States v. Petrillo, 332 U.S. 1, 7-8
                                                      (1947), this is not a case where further precision in the statutory
                                  22                  language is either impossible or impractical.

                                  23   Kolender v. Lawson, 461 U.S. 352, 361 (1983). Kolender involved an attack on the facial validity

                                  24   of a statute but the spirit of its holding is equally apt here. The solution to the Government’s

                                  25   worry is not to relax our constitutional protections but to give proper public notice and possibly

                                  26   revise the regulations to make plain that conduct like Jimenez’s will result in criminal exposure.

                                  27          That resolves the vagueness challenge on the receiver issue in Jimenez’s favor. As a

                                  28   closing point, the Court is concerned about a troubling theme in the Government’s argument on
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                                          Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 10 of 11




                                   1   this issue. In essence, the Government says that its construction of the gun laws should prevail

                                   2   and Jimenez should go to jail because the ATF has consistently enforced that interpretation of the

                                   3   law. That is a questionable perspective to take on law enforcement. The evidence of consistency

                                   4   and notice are weak, as discussed, but even so, consistency alone does not make a practice

                                   5   constitutional, reasonable or fair. See F.J. Vollmer Co., Inc. v. Magaw, 102 F.3d 591, 598 (D.C.

                                   6   Cir. 1996) (although ATF “had followed its interpretation of the Firearms Act since at least the

                                   7   early 1980s, we do not see how merely applying an unreasonable statutory interpretation for

                                   8   several years can transform it into a reasonable interpretation.”). And the value of ATF’s claimed

                                   9   consistency is doubtful. Since the gun laws and regulations do not squarely state how split

                                  10   receivers for rifles like the AR-15 will be treated, ATF is perfectly free to take a totally different

                                  11   enforcement approach at any time. It might have enforced the current AR-15 lower receiver

                                  12   interpretation to a fare-thee-well for many years but that in no way means it can’t flip to a new
Northern District of California
 United States District Court




                                  13   interpretation should a future in-house counsel decide to break with her predecessor’s advice from

                                  14   the 1970s. The vagueness doctrine is intended to foreclose that opportunity for arbitrary

                                  15   enforcement decisions.

                                  16          The indictment is dismissed to the extent the Government’s prosecution of Jimenez under

                                  17   18 U.S.C. § 922(o) and 26 U.S.C. § 5861(d) is based on the theory that he possessed a “receiver”

                                  18   as that term is defined in 27 C.F.R. § 479.11.

                                  19      IV. VAGUENESS CHALLENGE: “MACHINEGUN”
                                  20          The motion is denied with respect to prosecution under another part of the machinegun

                                  21   definition. As Jimenez acknowledges, there are other ways of meeting the definition of

                                  22   “machinegun” under 26 U.S.C. § 5845(b) beyond possessing the “receiver.” Based on the facts of

                                  23   this case, one possible avenue is that the AR-15 lower receiver Jimenez possessed could be

                                  24   deemed a “part designed and intended solely and exclusively . . . for use in converting a weapon

                                  25   into a machinegun.”

                                  26          Jimenez frames an attack on this possibility as a vagueness challenge, but that is

                                  27   misdirected. Whether he can be convicted on this basis is a question of fact and not one of law or

                                  28   vagueness, and Jimenez’s argument underscores that important difference. He says, for example,
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                                          Case 4:15-cr-00372-JD Document 20 Filed 06/06/16 Page 11 of 11




                                   1   that “the object allegedly possessed by Mr. Jimenez could not possibly fit within this category”

                                   2   because “even with the milling and the hole drilled,” the lower receiver “would still operate as a

                                   3   semi-automatic weapon when the upper receiver and necessary semi-automatic components are

                                   4   attached to it.” Dkt. No. 12 at 11.

                                   5          The Government contends that Jimenez had “full knowledge of the receiver’s critical

                                   6   modifications that allow automatic fire.” Dkt. No. 13 at 7. It also alleges that automatic

                                   7   functionality was the reason Jimenez sought to purchase this lower receiver. See id. at 18 (arguing

                                   8   defendant purchased the lower receiver “because it had the capability when additional parts were

                                   9   added to fire automatically”).

                                  10          This dispute raises fact issues that are not suitable for resolution on a motion to dismiss.

                                  11   As an initial matter, the Court cannot conclude on the current record that the term “machinegun” --

                                  12   excluding “frame or receiver” -- was vague as applied to defendant. If Jimenez had read 26
Northern District of California
 United States District Court




                                  13   U.S.C. § 5845(b) prior to making his purchase, he would fairly have been on notice that his

                                  14   conduct could be proscribed because what he was about to purchase could be a “part designed and

                                  15   intended solely and exclusively . . . for use in converting a weapon into a machinegun.” Harris,

                                  16   705 F.3d at 932. Whether the evidence ultimately shows that the lower receiver he bought fits that

                                  17   definition is a question that the Court cannot answer on a motion to dismiss. Shortt Accountancy

                                  18   Corp., 785 F.2d at 1452. That is for the trier of fact to decide.

                                  19          Neither party addressed the “machinegun” issue in any detail. Consequently, the Court

                                  20   does not foreclose at this time prosecution of Jimenez under any part of the machinegun laws not

                                  21   dependent on possession of a “receiver.”

                                  22                                              CONCLUSION

                                  23          The indictment is dismissed to the extent the Government’s prosecution in this case is

                                  24   based on the theory that defendant possessed a “frame or receiver” under the relevant statutory and

                                  25   regulatory framework. Dismissal is denied for prosecution under “machinegun.”

                                  26          IT IS SO ORDERED.

                                  27   Dated: June 6, 2016
                                                                                                     JAMES DONATO
                                  28                                                                 United States District Judge
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